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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

 LAUREN MIRANDA,

                             Plaintiff,
                                                   Docket No.
                      -against-                    20 Civ. 00104 (BMC)

 SOUTH COUNTRY CENTRAL SCHOOL
 DISTRICT, JOSEPH GIANI, NELSON BRIGGS,
 TIM HOGAN, ERIKA DELLA ROSA, CHERYL A.
 FELICE, REGINA HUNT, LISA DI SANTO,
 ANTHONY GRIFFIN, CAROL MALIN, JACK NIX,
 CHRIS PICINI, CHRISTINE FLYNN,

                             Defendants.




                     MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
                        MOTION FOR PARTIAL RECONSIDERATION



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                                                   Joseph Giani
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                                 PRELIMINARY STATEMENT

        Defendant Joseph Giani moves for reconsideration of the denial of qualified immunity to

 correct a clear error and prevent manifest injustice. Dr. Giani is entitled to qualified immunity at

 the earliest opportunity, which is prior to discovery, because there is no clearly established law

 suggesting his alleged conduct violated the Equal Protection Clause of the Fourteenth Amendment.

        This Court denied qualified immunity, not on the merits, but because Defendants raised

 the argument for the first time on reply. This occurred under the unusual circumstance in which

 this Court sua sponte deemed Defendants’ three-page pre-motion letter to be its motion to dismiss,

 after the letter was filed. Although the pre-motion letter did not mention qualified immunity per

 se, counsel had a lot of ground to cover for a number of Defendants in a limited space. The letter

 laid out the cases demonstrating the robust consensus of Circuit cases upholding gender-based

 restrictions on breast exposure under the Equal Protection Clause, demonstrating the law is

 anything but clearly established in Plaintiff’s favor. Local Civil Rule 7.1(a)(2) requires the parties

 to submit memoranda of law on dispositive motions. Defendants briefed qualified immunity in the

 first memorandum of law it was permitted to file.

        Defendants respectfully submit that this Court should reconsider its prior ruling and, upon

 reconsideration, grant qualified immunity to Joseph Giani.




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                                       PROCEDURAL HISTORY

         Plaintiff filed this action on January 6, 2020. (Dkt. No. 1.) The complaint alleged various

 claims against the South Country Central School District and a host of individuals relating to

 Plaintiff’s termination as a probationary school teacher. (Id.)

         Rule III(A) of this Court’s Individual Practices requires parties to write a letter “not to

 exceed three pages in length” requesting a pre-motion conference before filing a motion to dismiss.

 On January 28, 2020, Defendants filed a letter “request[ing] a pre-motion conference in

 anticipation of moving to dismiss under Fed. R. Civ. P. 12(b)(1) and (6).” (Dkt. No. 21.) Later that

 day, the Court waived the pre-motion conference, “deemed [the letter motion] to constitute

 defendants’ motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(1) and 12(b)(6),”

 and set a briefing schedule only for Plaintiff’s opposition and Defendants’ reply. Although the

 letter did not specify qualified immunity, it argued and cited cases demonstrating the Equal

 Protection law, if anything, was established in Defendants’ favor.

         On February 25, 2020, Plaintiff filed opposition. (Dkt. No. 25.) On March 10, 2020,

 Defendants filed a reply, which was their first opportunity to submit a memorandum of law in

 support of their motion to dismiss. (Dkt. No. 28.) The individual Defendants argued they are

 entitled to qualified immunity from suit on Plaintiff’s Fourteenth Amendment claim (pursuant to

 42 U.S.C. § 1983) because “[t]here is no single case that suggests, under the circumstances pleaded

 in this case, that Defendants violated Plaintiff’s clearly established and well-settled Equal

 Protection rights.” (Id. at p. 17.)

         On May 21, 2020, the Court issued a Memorandum Decision and Order granting in part,

 and denying in part, Defendants’ motion to dismiss. (Dkt. No. 34.) The Court dismissed all the

 individual defendants from the case except for Dr. Giani. (Id.) The Court declined to consider Dr.



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 Giani’s qualified immunity defense on the ground that it was raised for the first time in Defendants’

 reply memorandum. (Dkt. No. 34 at p. 8-9.)




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                                    STANDARD OF REVIEW

        A motion for reconsideration or reargument is governed by Local Civil Rule 6.3, and

 follows the standards set forth in Fed. R. Civ. P. 59(e). See Brewer v. Hall, No. 00-CV- 6072

 (ADS), 2005 WL 8161229, at *1 (E.D.N.Y. Feb. 14, 2005). “The major grounds for justifying

 reconsideration are an intervening change of controlling law, the availability of new evidence, or

 the need to correct a clear error or prevent manifest injustice.” Rothenberg v. Daus, No. 08-CV-

 567 SHS, 2015 WL 1408655, at *2 (S.D.N.Y. Mar. 27, 2015) (quoting Virgin Atl. Airways, Ltd.

 v. Nat'l Mediation Bd., 956 F.2d 1245, 1255 (2d Cir.1992)); see also Regan v. Conway, 768 F.

 Supp. 2d 401, 408 (E.D.N.Y. 2011) (citations omitted). The decision to grant or deny a motion for

 reconsideration falls within the sound discretion of this Court. See Mangino v. Inc. Vill. of

 Patchogue, 814 F. Supp. 2d 242, 247 (E.D.N.Y. 2011) (citing United States v. U.S. Currency in

 sum of Ninety Seven Thousand Two Hundred Fifty-Three Dollars, No. 95-CV-3982 JG, 1999 WL

 84122, at *2 (E.D.N.Y. Feb. 11, 1999)).

        Courts grant individual defendants qualified immunity on motions for reconsideration. See,

 e.g. Lindsey v. Butler, No. 11 CIV. 9102 ER, 2014 WL 5757448, at *2 (S.D.N.Y. Nov. 5, 2014)

 (granting qualified immunity on reconsideration of motion to dismiss where conduct did not

 violate clearly established First Amendment rights). Id. at *2; Mangino v. Inc. Vill. of Patchogue,

 814 F. Supp. 2d 242, 245 (E.D.N.Y. 2011) (granting qualified immunity on reconsideration where

 no clearly established law to support plaintiff’s abuse of process claim); Rothenberg v. Daus, No.

 08-CV-567 SHS, 2015 WL 1408655, at *2 (S.D.N.Y. Mar. 27, 2015) (granting motion for

 reconsideration on qualified immunity where due process right was not clearly established).

        Given the Supreme Court’s mandate that qualified immunity is immunity from suit to be

 decided at the earliest opportunity, Dr. Giani did not violate any clearly established constitutional



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  law, and he did not have the opportunity to meaningfully brief the issue, this Court should dismiss

  Plaintiff’s Section 1983 claim against him on qualified immunity grounds.




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                                             ARGUMENT

     THE COURT SHOULD GRANT JOSEPH QUALIFIED IMMUNITY
       TO CORRECT AN ERROR AND PREVENT MANIFEST INJUSTICE

         It is well settled that qualified immunity is not just immunity from liability, but immunity

  from suit. Accordingly, “it is the obligation of the court to consider its availability at the earliest

  point in the case at which that availability can be determined.” Birch v. City of New York, 184 F.

  Supp. 3d 21, 28 (E.D.N.Y. 2016), aff'd, 675 F. App'x 43 (2d Cir. 2017) (citing Pearson v.

  Callahan, 555 U.S. 223, 232, 129 S.Ct. 808 (2009) (Supreme Court “stressed the importance of

  resolving immunity questions at the earliest possible stage in litigation”)); see also Anderson v.

  Creighton, 483 U.S. 635, 646, 107 S. Ct. 3034, 3042 (1987) (“we have emphasized that qualified

  immunity questions should be resolved at the earliest possible stage of a litigation.”)

         In fact, the Supreme Court repeatedly stressed “that the driving force behind creation of

  the qualified immunity doctrine was a desire to ensure that insubstantial claims against government

  officials [will] be resolved prior to discovery.” Pearson, 555 U.S. at 231-32 (internal quotation

  marks omitted; emphasis supplied) (citing Anderson, 483 U.S. at 640, n. 2); Looney v. Black, 702

  F.3d 701, 706 (2d Cir. 2012). Qualified immunity can be decided on purely legal grounds, even

  assuming the truth of all the allegations in the complaint.

         “The Supreme Court’s recent repeated unanimous awards of qualified immunity emphasize

  the narrow circumstances in which government officials may be held personally liable for their

  actions in suits for money damages.” Turkmen v. Hasty, 789 F.3d 218, 281 (2d Cir. 2015). “The

  dispositive question is whether the violative nature of particular conduct is clearly established …

  [and] must be undertaken in light of the specific context of the case, not as a broad general

  proposition.” Mullenix v. Luna, 136 S.Ct. 305, 308 (2015) (emphasis in original). “This ‘clearly

  established’ standard protects the balance between vindication of constitutional rights and

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  government officials’ effective performance of their duties by ensuring that officials can

  ‘reasonably … anticipate when their conduct may give rise to liability for damages.’” Reichle v.

  Howards, 566 U.S. 658, 132 S.Ct. 2088, 2093 (2012) (quoting Anderson, 483 U.S. at 639).

         It is well settled that the scope of qualified immunity is broad, and protects “all but the

  plainly incompetent or those who knowingly violate the law.” Malley v. Briggs, 475 U.S. 335, 335,

  106 S. Ct. 1092, 1093 (1986). For a plaintiff to avoid qualified immunity, “existing precedent must

  have placed the statutory or constitutional question confronted by the official beyond debate.”

  Plumhoff v. Rickard, 572 U.S. 765, 134 S.Ct. 2012, 2023 (2014) (citation omitted). The law does

  anything but that here.

         The Court did not decide qualified immunity on the merits; it denied qualified immunity

  because Defendants raised it for the first time on reply. (Dkt. No. 34 at p. 8-9 (citing Knipe v.

  Skinner, 999 F.2d 708, 711 (2d Cir. 1993) and Zirogiannis v. Seterus, Inc., 221 F. Supp. 3d 292,

  298 (E.D.N.Y. 2016), aff'd, 707 F. App'x 724 (2d Cir. 2017)). The motion, however, was briefed

  in an unusual and unconventional manner, in which the Court sua sponte deemed Defendants’

  three-page pre-motion letter to be Defendants’ complete memorandum of law. This is a process

  undersigned defense counsel have never previously encountered, and one not set forth in the

  Federal Rules, Local Rules, or this Court’s Individual Practices. In fact, the Local Rules 7.1

  requires a memorandum of law when briefing dispositive motions.

         While counsel’s pre-motion letter regrettably did not discuss qualified immunity, there was

  limited space to address Plaintiff’s factual averments and seven causes of action on novel points

  of law on behalf of nine Defendants. Neither Knipe nor Zirogiannis dealt with qualified immunity,

  which is required to be resolved at the earliest opportunity, and neither dealt with an issue that is




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  immediately appealable, as is the denial of qualified immunity. 1 See Mitchell v. Forsyth, 472 U.S.

  511, 530, 105 S. Ct. 2806, 2817 (1985).

           The pre-motion letter did, however, show that the law is not well-settled in Plaintiff’s favor;

  if anything, the majority of cases addressing breast exposure laws have upheld gender-based

  disparate treatment. (Dkt. No. 21.) While neither side was able to cite any single case with similar

  facts, i.e. where a probationary public schoolteacher was disciplined after her employee received

  a topless photo she sent to another teacher,2 Defendants cited (and this Court recognized) a number

  of Circuit cases throughout the United States that found the exposure of female versus male breasts

  justified gender-based distinctions under the Equal Protection Clause. See, e.g. Ways v. City of

  Lincoln, 331 F.3d 596, 600 (8th Cir. 2003) (“[T]he city’s interests in preventing the secondary

  adverse effects of public nudity and protecting the order, morality, health, safety, and well-being

  of the populace are important. The ordinance is substantially related to those objectives, and thus

  the higher standard is satisfied.”); Tagami v. City of Chicago, 875 F.3d 375, 379 (7th Cir. 2017),

  as amended (Dec. 11, 2017) (finding Chicago ordinance prohibiting exposure of female breasts

  did not violate free speech or equal protection, recognizing physical differences between the sexes

  and the state authority to “provide for the public health, safety, and morals” as bases to uphold

  legislation) (citing Barnes v. Glen Theatre, Inc., 501 U.S. 560, 560, 111 S.Ct. 2456, 2457 (1991));

  see also Buzzetti v. City of New York, 140 F.3d 134, 142 (2d Cir. 1998) (“[A]s the district court

  pointed out in support of its conclusion that the Zoning Amendment was not gender-biased,

  numerous courts have recognized that the societal impacts associated with female toplessness [as




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    In Zirogiannis, the court actually rejected the claim that defendant had raised an argument for the first time on reply.
  Id. at 299.
  2
    The Court did not consider on the motion to dismiss that the photo was widely disseminated in the school, as the
  complaint left out that key fact. It does not matter for the qualified immunity analysis, as there is no clearly established
  law in Plaintiff’s favor, even without this fact.

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  opposed to male] are legitimate bases for regulation.”) (citing United States v. Biocic, 928 F.2d

  112, 115–16 (4th Cir.1991) (upholding public indecency statute that applied to topless females but

  not topless males, noting that, in our society, the “erogenous zones .... still include (whether

  justifiably or not in the eyes of all) the female, but not the male, breast.”); SDJ, Inc. v. City of

  Houston, 837 F.2d 1268, 1279–80 (5th Cir. 1988), cert. denied, 489 U.S. 1052, 109 S.Ct. 1310

  (1989) (considering ordinance regulating adult entertainment, concluding that “[t]he district court

  did not err in holding that such regulation of female breasts is substantially related to the City's

  interest in regulation”); Tolbert v. City of Memphis, 568 F.Supp. 1285, 1290 (W.D. Tenn.1983)

  (“The only aspect of the ordinance at issue in this case that could be construed as discriminating

  against women on its face is directed solely against the exposure of the female breast in a public

  place. In our culture, for the purpose of this type [of] ordinance, female breasts are a justifiable

  basis for a gender-based classification.”)).

         This Court recognized in its decision that neither side cited any Supreme Court or Second

  Circuit cases dealing with similar facts to this case, and that “qualified immunity may well apply

  at the summary judgment stage.” (Dkt. No. 34 at p. 9 (citing Naumovski v. Norris, 934 F.3d 200,

  211 (2d Cir. 2019).) This is because this issue, on these facts, is one of first impression. Even

  assuming in the truth of the facts in Plaintiff’s bare-bones complaint, neither the Supreme Court

  nor the Second Circuit has decided a case on all fours with Plaintiff’s allegations. And there is

  certainly no robust consensus of other circuits that Dr. Giani’s conduct violated the Equal

  Protection Clause. See Ashcroft v. al-Kidd, 563 U.S. 731, 742, 131 S. Ct. 2074, 2084 (2011). In

  other words, even if Plaintiff’s allegations are accepted as true, Dr. Giani is entitled to qualified

  immunity because this issue was never before decided, let alone definitively determined to be a

  constitutional violation.



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                                           CONCLUSION

         For the foregoing reasons, Defendants respectfully request the Court grant reconsideration

  of that portion of its May 21, 2020 Memorandum of Decision and Order that denied qualified

  immunity to Joseph Giani and, upon reconsideration, dismiss Plaintiff’s 42 U.S.C. § 1983 claim

  for violation of the Fourteenth Amendment’s Equal Protection Clause as against him, with

  prejudice, together with such other and further relief as the Court deems just and proper.

  Dated: Carle Place, New York
         June 3, 2020


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